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                            UNITED STATES BANKRUPTCY
                           COURT DISTRICT OF CONNECTICUT
                                NEW HAVEN DIVISION

In re:                                              :     Case No.: 19-31430 (AMN)
         ACE BEGONIAS INC.,                         :     Chapter 7
              Debtor                                :
                                                    :
                                                    :
         BONNIE C. MANGAN,                          :     Adv. Pro. No. 21-03005 (AMN)
             Chapter 7 Trustee, Plaintiff           :
v.                                                  :
         BETHANY FARM & NURSERY, LLC,               :
              Defendant                             :     Re: AP-ECF No. 23
                                                    :


                            PRE-TRIAL SCHEDULING ORDER
         Pursuant to the statements made on the record during the continued Pre-Trial

Conference held on December 1, 2021, and after consideration of the Joint Rule 26(f)

Report, filed by David Shufrin, ("Plaintiff's Counsel"), the court adopts most of the dates

agreed to by the parties and enters further dates in this Pre-Trial Scheduling Order.

See, ECF No. 23. Accordingly, it is hereby

         ORDERED: On or before December 31, 2021, the parties shall complete Fed.

R. Civ. P. 26(a) initial disclosures; and it is further

         ORDERED: On or before December 30, 2021, the parties shall amend their

pleadings. All parties reserve their rights under Fed. R. Civ. P. 15 and all other

applicable law to contest any motion to amend the pleadings, including objections

based on timeliness; and it is further
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       ORDERED: That, the parties shall commence fact discovery immediately and

conclude fact discovery on or before May 15, 2022. The parties shall not serve more

than 25 interrogatories each; and it is further

       ORDERED: That, on May 31, 2022 at 2:00 p.m., a continued Pre-Trial

Conference shall be held; and it is further

       ORDERED: On or before June 27, 2022, the parties shall file dispositive

motions; and it is further

       ORDERED: On or before July 15, 2021, the parties shall each file a list of

proposed witnesses, including expert witnesses, and a list of proposed exhibits. The

parties shall each file their list of exhibits as a new document in the Main case, with the

exhibits to be used at trial (redacted as to any personal identifying information) filed as

subordinate documents (or attached as exhibits) pursuant to the instructions set forth in

Exhibit A. Each party shall serve a copy of each exhibits to the opposing party and file a

certificate of such service; and it is further

       ORDERED: On or before July 15, 2022, each party shall serve a damages

anaylsis for any claim or counterclaim on the other party, filing a certificate of service,

but not filing the analysis with the Court; and it is further

       ORDERED: On or before September 1, 2022, the parties shall serve the other

with the report of any expert that the party intends to have testify as a rebuttal expert

witness; and it is further
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       ORDERED: Given the changing status of the COVID-19 pandemic and its effect

on travel and court operations, the parties should plan that the trial will be held in person

with appropriate COVID-19 protections but should understand that the manner of the

trial (i.e., whether in person or via videoconference using ZoomGov), the date of a final

Pre-Trial Conference, and trial dates shall be addressed during the May 31, 2022

continued Pre-Trial Conference.
              Dated this 6th day of December, 2021, at New Haven, Connecticut.
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                         EXHIBIT A
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                                           United States Bankruptcy Court
                                               District of Connecticut


                                    Instructions for Parties to File
                            Proposed Trial Exhibits on the CM/ECF Docket

     •   From the CM/ECF Menu:          Select Bankruptcy or Adversary
     •   Menu Category:                 Miscellaneous
     •   Select from the Menu of “Available Events” Exhibit(s)/List of Witnesses. Click Next to proceed to the
         next page.
     •   Select the Attorney filing the Exhibit(s)/List of Witnesses, Click Next to proceed to next page.
     •   Select the Name of the Party. Click Next to proceed to next page.

Then, please follow these additional steps:

a.       At the “Attach File Screen”:

         1. Select “Browse” and locate the PDF document to be filed on your computer (your List of Exhibits).
            The List of Exhibits should include the case caption, a numerical list of exhibits, and signature
            block. The document should be titled “[Party Name] List of Exhibits”. Upload the PDF document.

         2. Underneath the document selection box, you are asked whether there are attachments to the
            document: Select “YES.” Click Next to proceed to the next page to attach the Exhibits.

b.       At the “Select Attachments Screen”:

         1. Browse for the PDF file you intend to file and attach the PDF file to be uploaded for the first exhibit.

         2. Fill in the fields below:

                        Category:              Select Exhibit from drop down box

                        Description:           Enter a short description including the exhibit number
                                               (i.e., “Exhibit 1 - Car Lease”)

         3. Click “Add to List”

         4. Repeat steps (b)(1) through (b)(3) for each exhibit.

                NOTE: EACH EXHIBIT MUST BE FILED AS A SEPARATE PDF ATTACHMENT.

c.       At prompt, select the filing party and then add the name of the List of Exhibits (for example,
         “Plaintiff’s Exhibits or List of Witnesses,” “Movant’s List of Exhibits,” etc.)

d.       CM/ECF will ask you to link the exhibits you are filing to the matter scheduled for trial (i.e., the
         complaint, a particular motion or an objection). Select the ECF No. for the subject of the evidentiary
         hearing from the list CM/ECF provides.


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                                  United States Bankruptcy Court
                                      District of Connecticut

The final docket text should generally appear in the following format (note that each exhibit is itemized
in the docket text):

Plaintiff's List of Exhibits Filed by John Smith on behalf of Mary Jones Plaintiff (Re:)[1] Complaint
filed by Plaintiff Mary Jones.) (Attachments: # (1) Exhibit 1 Property Deed # (2) Exhibit 2 Car Lease
Contract# (3) Exhibit 3 Police Report).




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